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  14   GEARLAUNCH, INC.
  15
  16                  IN THE UNITED STATES DISTRICT COURT
  17               FOR THE CENTRAL DISTRICT OF CALIFORNIA
  18
       MONSTER ENERGY COMPANY,             )   Case No. 5:18cv01489
  19                                       )
       a Delaware corporation,             )   STIPULATED DISMISSAL WITH
  20                                       )   PREJUDICE PURSUANT TO
                   Plaintiff,              )
  21                                       )   FRCP 41 (a)(1)(A)(ii)
             v.                            )
  22                                       )   Hon. Fernando M. Olguin
       GEARLAUNCH, INC,                    )
  23                                       )
                   Defendant.              )
  24                                       )
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   1              Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,
   2   Plaintiff Monster Energy Company (“Monster”) and Defendant GearLaunch,
   3   Inc. hereby stipulate to the dismissal with prejudice of the claims asserted in this
   4   action in Monster’s Complaint.
   5
   6                                     Respectfully submitted,
   7                                     KNOBBE, MARTENS, OLSON & BEAR, LLP
   8
   9   Dated: October 5, 2018            By: /s/ Matthew S. Bellinger
                                            Matthew S. Bellinger
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  11                                     Attorneys for Plaintiff,
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       Dated: October 5, 2018            By: /s/ Cheryl A. Cauley (with permission)
  17                                          Cheryl A. Cauley
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  19                                     GEARLAUNCH, INC.
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